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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


KELLI ROWLETTE, an individual, SALLY                  Case No. 4:18-CV-00143-DCN
ASHBY, an individual, and HOWARD
FOWLER, an individual,

Plaintiffs,
                                               REPLY MEMORANDUM IN SUPPORT OF
v.                                                DEFENDANT OBSTETRICS AND
                                                GYNECOLOGY ASSOCIATES OF IDAHO
GERALD E. MORITMER, M.D., LINDA G.               FALLS, P.A.‟S MOTION TO DISMISS
McKINNON MORTIMER, and the marital
community      comprised     thereof, and
OBSTETRICS         AND       GYNECOLOGY
ASSOCIATES OF IDAHO FALLS, P.A., an
Idaho professional corporation,

Defendants.


        COMES NOW, Defendant Obstetrics and Gynecology Associates of Idaho Falls, P.A.,

(“OGA”) and pursuant to F.R.C.P. 12(b)(6) submits the following Reply Memorandum in

Support of Motion to Dismiss.

                                      ARGUMENT

        I.    PLAINTIFFS’ CLAIMS   FOR   BATTERY,   INFLICTION OF
              EMOTIONAL DISTRESS, AND BREACH OF CONTRACT ARE
              BARRED BY THE STATUTE OF LIMITATIONS.

              i.     Plaintiffs’ claims did not accrue upon discovery of “some damage.”




1 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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       Plaintiffs argue that their claims are not barred by the statute of limitations because

they did not accrue until they suffered “some damage.” Plaintiffs cite Lapham v. Stewart,

137 Idaho 582 (2002) in support of their argument, which states that “[u]ntil some damage

occurs, a cause of action for professional malpractice does not accrue.”         Id. at 586.

Plaintiffs allege that they did not suffer “some damage” “until they learned of Dr. Mortimer‟s

violation of their trust” which occurred when they discovered Dr. Mortimer allegedly used

his own sperm to impregnate Ms. Ashby. Dkt 29, p. 4. Plaintiffs‟ argument amounts to a

discovery rule, which the Idaho Supreme Court has explicitly rejected, and also fails to take

into account how the “some damage” principle has been defined and applied by the Idaho

Supreme Court.

       The Idaho Supreme Court discussed the “some damage” principle in Conner v.

Hodges, 157 Idaho 19 (2014).

       In Davis v. Moran, this Court explained that when determining whether
       “some damage” has occurred, the trial court is to identify the point at which
       the “fact of injury becomes objectively ascertainable.” 112 Idaho 703, 709, 735
       P.2d 1014, 1020 (1987). By “objectively ascertainable,” “we mean that
       objective medical proof would support the existence of an actual injury.” Id.
       at 709 n.4, 735 P.2d at 1020 n.4. The concept of an “„objectively ascertainable
       injury‟ is simply an analytical tool to be used in determining when 'some
       damage' has occurred.” Conway, 141 Idaho at 146-47, 106 P.3d at 472-73.

Id. at 24.

       In Stuard v. Jorgenson, 150 Idaho 701 (2011), the Idaho Supreme Court expressly

rejected Plaintiffs‟ argument that “some damage” does not occur until the damage is

discovered.

       The language of Davis defining “objectively ascertainable” to mean “that
       objective medical proof would support the existence of an actual injury,”
       means that the existence of the injury is capable of being objectively
       ascertained. Davis, 112 Idaho at 709 n. 4, 735 P.2d at 1020 n. 4. To allow for
       accrual to begin only once the parties have been put on notice of the damage,
       or in other words, once the damage is actually “ascertained” would effectively
       create a discovery rule, which the legislature has rejected.



2 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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Id. at 706.

        The Stuard case is right on point and instructive in this case.                       In Stuard, the

physician performed a spinal surgery at the wrong level. Id. at 702. Despite this, the

operation relieved the plaintiff‟s symptoms. Id. The error was not discovered until two

years later when another MRI was performed. Id. at 703. The district court found that the

medical malpractice claim was time barred under I.C. ' 5-129(4) and dismissed the

plaintiff‟s claim. Id. The Idaho Supreme Court affirmed the dismissal, explaining that the

“removal of healthy tissue and the installation of hardware at the wrong level,” was

objectively ascertainable at the time of the negligently performed surgery “because had

objective medical proof in the form of an MRI been ordered, it would have

shown that the surgery was performed at the wrong level, and that Stuard had

suffered damages as a result of its performance at the wrong level.” Id. at 706

(emphasis added).

        The Stuard decision reveals the error in Plaintiffs‟ argument that “some damage”

does not occur until discovery of the alleged injury. If Plaintiffs‟ position were correct the

plaintiff‟s claim in Stuard would not have been dismissed because the claim was brought

within 2 years of discovery of the injury.

        In this case, Plaintiffs‟ damages were objectively ascertainable through a DNA test. 1

According to Plaintiffs, it would have shown that Dr. Mortimer, not Fowler, was Rowlette‟s

biological father. This would have been “objective medical proof that would support the

existence of an injury,” thus making Plaintiffs‟ alleged injuries capable of being objectively

ascertained.2


1
  Paternity identification through DNA testing has been readily available for decades. See Henderson v. Smith, 128
Idaho 444 (1996).
2
   Plaintiffs confusingly argue that their claims did not accrue until after they suffered “some damage”
because they are claims for professional malpractice but also state that Fowler‟s and Rowlette “are not


3 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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       Plaintiffs contend that they had no reason to suspect that Dr. Mortimer used his own

sperm to impregnate Ashby and therefore had no reason to request or conduct a DNA test.

However, the law only requires that the damage be “objectively ascertainable” and does not

consider whether or not a plaintiff has reason to suspect or believe that an injury has

occurred. Indeed, the plaintiff in Stuard had no reason to suspect an injury had occurred

and the claim was still dismissed nonetheless.

               ii.     Plaintiffs’ personal injury claims are not tolled by the fraudulent
                       concealment exception.

       Plaintiffs also argue that the tolling provision of I.C. ' 5-219(4) for fraudulent

concealment applies to all of their personal injury claims.            Plaintiffs‟ argument is not

supported by the language of I.C. ' 5-219(4) or Idaho case law.

       I.C. ' 5-219(4) states in relevant part:

       when the fact of damage has, for the purpose of escaping responsibility therefor,
       been fraudulently and knowingly concealed from the injured party by an alleged
       wrongdoer standing at the time of the wrongful act, neglect or breach in a
       professional or commercial relationship with the injured party, the same shall
       be deemed to accrue when the injured party knows or in the exercise of
       reasonable care should have been put on inquiry regarding the condition or matter
       complained of;

Id. (emphasis added).

       The Idaho Supreme Court has expressly noted that the fraudulent concealment

tolling provision only applies to professional malpractice claims.

       Counsel for the daughters argued that they are entitled to the fraudulent
       concealment exception in I.C. § 5-219(4) because the parties were in a parent-
       child relationship and because Deffenbaugh concealed his alleged molestation of
       each daughter from the other. It is asserted that the concealment ended only in
       2003 when each daughter learned that the other had been molested and
       Deffenbaugh purportedly admitted to the molestation. This contention is without

pursuing claims under theories of medical malpractice” and that “their damage does not arise from Dr.
Mortimer‟s negligence in their care.‟ Dkt. 29, p. 17. One must ask how Fowler and Rowlette‟s claims did
not accrue until they suffered some damage if their claims are not based on professional malpractice, a
requirement for the “some damage” principle to be applicable.



4 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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       merit. I.C. § 5-219(4) applies to professional malpractice claims, not claims of
       the nature alleged in this case. Even then, the fraudulent concealment must be
       concealment practiced upon the injured party, not upon a third party.

Glaze v. Deffenbaugh, 144 Idaho 829, 832 (2007) (emphasis added).

       The fraudulent concealment tolling therefore does not apply to Plaintiffs‟ personal

injury claims.

       Moreover, in order for the fraudulent concealment tolling provision to be applicable,

' 5-219(4) requires that that the alleged wrongdoer be in a professional or commercial

relationship with the injured party at the time of the wrongful act. In order for a physician

to be in professional relationship with a plaintiff, they must be involved in the provision of

health care. As discussed in part II below, if a claim involves the provision of or failure to

provide health care, it is by definition a malpractice claim subject to I.C. ' 6-1012, which

precludes all other claims. This includes Plaintiffs‟ claims for breach of contract, battery,

and infliction of emotional distress.

                 iii.   Equitable estoppel does not apply to Plaintiffs’ claims.

       Plaintiffs contend that equitable estoppel precludes Defendants from benefitting

from the statute of limitations defense because Dr. Mortimer fraudulently concealed

material facts. The Idaho Supreme Court discussed equitable estoppel in Sorenson v. Saint

Alphonsus Regional Med. Ctr., 141 Idaho 754 (2005).

       Four elements are required in order to establish a claim for equitable estoppel: 1)
       there must be a false representation or concealment of a material fact made with
       actual or constructive knowledge of the truth; 2) the party asserting estoppel did
       not and could not have discovered the truth; 3) there was intent that the
       misrepresentation be relied upon; and 4) the party asserting estoppel relied upon
       the misrepresentation or concealment to his or her prejudice. Willig v. State,
       Dept. of Health & Welfare, 127 Idaho 259, 261, 899 P.2d 969, 971 (1995);
       Tommerup v. Albertson's, Inc., 101 Idaho 1, 5, 607 P.2d 1055, 1059 (1980). “All
       of the above factors are of equal importance and there can be no estoppel absent
       any of the elements.” Tommerup, 101 Idaho at 6, 607 P.2d at 1060.

Id. at 759.


5 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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       In this case, Plaintiffs cannot establish that they could not have discovered the truth.

As discussed above, Plaintiffs could have discovered the truth DNA testing.

       With respect to Rowlette, she cannot establish the first and fourth elements because

Dr. Mortimer never made a representation to her. A review of Plaintiffs‟ Complaint reveals

no allegations that Dr. Mortimer made any representation to Rowlette. Plaintiffs even fail

to argue in their Memorandum in Opposition that Dr. Mortimer made any representation to

Rowlette about using sperm from an anonymous donor. Indeed, it is impossible for Dr.

Mortimer to have done so since Rowlette was not yet conceived when Dr. Mortimer made

the alleged representation that serves as the basis for Plaintiffs‟ equitable estoppel

argument.

       The lack of any representation from Dr. Mortimer to Rowlette means she cannot

establish the first element of equitable estoppel. In addition, if no representation was made,

there could be no reliance on a misrepresentation. Thus, Rowlette also cannot establish the

fourth element of equitable estoppel.

              iv.     Plaintiffs’ claims for emotional distress are not continuing torts.

       In Curtis v. Firth, 123 Idaho 598 (1993), the Idaho Supreme Court stated:

       We note, however, that embracing this concept [of a continuous tort] in the area
       of intentional or negligent infliction of emotional distress does not throw open the
       doors to permit filing these actions at any time. The courts which have adopted
       this continuing tort theory have generally stated that the statute of limitations is
       only held in abeyance until the tortious acts cease. See, e.g., Page, 729 F.2d at
       818 and Twyman v. Twyman, 790 S.W.2d 819 (Tex.App.1990). At that point the
       statute begins to run. If at some point after the statute has run the tortious acts
       begin again, a new cause of action may arise, but only as to those damages which
       have accrued since the new tortious conduct began.

Id. at 604 (emphasis added).

       Plaintiffs argue that their claims for infliction of emotional distress constitute a

continuing tort. Specifically, Plaintiffs contend that Dr. Mortimer‟s misconduct did not stop



6 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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after he allegedly used his own sperm to impregnate Ms. Ashby, but that he has “continued

each day for several decades his deception regarding impregnating his patient with his own

sperm” and “this continued deception constitutes a continuing tort.”              Dkt. 29, p. 11.

Plaintiffs‟ argument

       Plaintiffs‟ Complaint only alleges that it was Dr. Mortimer‟s act of using his own

sperm to impregnate Ms. Ashby that caused them emotional distress. Dkt. 1, paras. 45 – 51.

According to Plaintiffs, this occurred “in the month of June, July, and August of 1980.” Dkt.

1, para. 18. Their Complaint does not allege any other acts by Dr. Mortimer after this date.

Thus, the tortious act ceased at the latest in August of 1980. In addition, Plaintiffs failed to

allege Dr. Mortimer‟s alleged continued deception as the basis for their emotional distress

claims in their Complaint and cannot now point to it to save claims based on entirely

separate conduct.

       In addition to their failure to plead concealment as the basis for their emotional

distress claims, Plaintiffs have failed to cite any authority for their argument that silence or

concealment would even constitute a wrongful act giving rise to a continuous tort for

emotional distress. The Supreme Court relied in part on this exact failure when it upheld

the dismissal of emotional distress claims in Glaze v. Deffenbaugh, 144 Idaho 829 (2007),

stating that the plaintiffs “present no authority for the proposition that silence or

concealment under these circumstances constitutes a wrongful act giving rise to a

continuing claim for intentional infliction of emotional distress.” Id. at 833.

       II.    PLAINTIFFS’ CLAIMS ARISE OUT OF THE PROVISION OF OR
              FAILURE TO PROVIDE HEALTH CARE SOUND IN MALPRACTICE
              AND ARE THERFORE PRECLUDED.

       Idaho law is clear that whenever the fundamental question in a case is whether a

“wrongful act or omission occurred in the course of performing professional services” it is “a

question of malpractice.” Hoover v. Hunter, 150 Idaho 658, 663 (2011).               All medical


7 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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malpractice claims are subject to the provisions of I.C. ' 6-1012, which requires plaintiffs to

prove that the defendant “negligently failed to meet the applicable standard of health care

practice of the community in which such care allegedly was or should have been provided . .

. .”   I.C. ' 6-1012 (emphasis added). Thus, claims for medical malpractice are negligence

claims and other causes of action are precluded by the language of I.C. ' 6-1012. The Idaho

Supreme Court made this clear in Hayward v. Valley Vista Care Corp., 136 Idaho 342

(2001), in which the Court held that where a claim pertains to the provision of or failure to

provide health care, I.C. ' 6-1012 precludes the bringing of a contract claim. Id. at 350.

        Similarly, in Conner v. Hodges, 157 Idaho 19 (2014) the Idaho Supreme Court stated

that “it has long held that when the basis of the action is the provision of or failure to

provide health care, then the gist of the action is negligence and not a breach of the

contract” and that “when the gravamen of the claim is based on the negligence of a health

care professional, the plaintiff is precluded from bringing a contract claim.” Id. at 25-26

(quoting Hayward, supra). The Idaho Supreme Court has applied this same reasoning to

other claims besides breach of contract where the gravamen of the complaint is based on the

provision of or failure to provide health care. See Hoover v. Hunter, 150 Idaho 658 (2011)

(I.C. ' 6-1012 precludes claim for fraud); Hall v. Rocky Mountain Emergency Physicians,

155 Idaho 322 (2013) (holding that when a physician‟s assistant fondled a patient‟s breast, a

claim for intentional infliction of emotional distress was really an action sounding in

malpractice subject to I.C. ' 6-1013); see also Keyser v. St. Mary’s Hosp., Inc., 662 F. Supp.

191 (D. Idaho 1987) (Consumer Protection Act claim precluded by I.C. ' 6-1012).

        Plaintiffs have stated that Ashby‟s claims will only proceed only under a theory of

medical malpractice should survive Defendants‟ Motions to Dismiss. However, Plaintiffs

contend that Fowler‟s and Rowlette‟s claims do not arise directly from the provision of




8 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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medical care as to them and therefore their claims are not subject to the gravamen analysis.

Dkt. 29, p. 17. Plaintiffs‟ argument does not withstand scrutiny.

       According to its language, I.C. ' 6-1012 applies “to any case, claim or action for

damages due to injury to or death of any person, brought against physician and surgeon

or other provider of health care . . . or any person vicariously liable for the negligence of

them or any of them, on account of the provision of or failure to provide health care or on

account of any matter incidental or related thereto.” I.C. ' 6-1012 (emphasis added).

       Thus, I.C. ' 6-1012 is not limited to claims brought by individuals who received the

actual health care treatment. By its own language, the statute applies to “any case, claim or

action for damages” suffered by “any person” if the claim arises out of the provision of

health care “or any matter incidental or related thereto.” Fowler and Rowlette‟s claims

qualify as “any case, claim or action for damages.” Ashby qualifies under the statute as “any

person” and Fowler and Rowlette‟s claims arise out of Dr. Mortimer‟s provision of health

care to Ashby, thereby qualifying as “any matter incidental and related” to the provision of

health care. As a result, the language of I.C. ' 6-1012 precludes Plaintiffs‟ attempt to

sidestep the law by arguing that their claims do not sound in malpractice because they were

not the recipients of the health care at issue.

       In sum, Plaintiffs claims for battery, breach of contract, fraud, infliction of emotional

distress, and violation of the Consumer Protection Act arise out of Dr. Mortimer‟s conduct

in providing or failing to provide healthcare to Ashby. The fact that Rowlette and Fowler

were not the recipients of the health care at issue makes no difference under I.C. ' 6-1012.

Plaintiffs cannot circumvent I.C. ' 6-1012 by artfully labeling their claims as something

other than malpractice or by arguing that Fowler and Rowlette were not the recipients of the

health care. These claims should therefore be dismissed.




9 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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       III.   ROWLETTE’S CLAIMS BASED ON ALLEGED CONDUCT THAT
              OCCURRED BEFORE SHE WAS CONCEIVED ARE PRECLUDED.

       As discussed in OGA‟s Memorandum in Support, Rowlette‟s claims are not based on

treatment Dr. Mortimer provided to her, but arise from treatment he provided to Ms. Ashby

before she was conceived.      Plaintiffs attempt to cover this deficiency by arguing that

Rowlette was Dr. Mortimer‟s patient because he delivered her, and he signed her birth

certificate attesting to her live birth. Dkt. 29, pp. 9-10. This fact, according to Plaintiffs,

precludes this Court from dismissing her claims. Plaintiffs‟ argument is without merit.

       Plaintiffs completely ignore the fact that the alleged malpractice in this case occurred

before Rowlette was conceived or born. The fact that Rowlette was Dr. Mortimer‟s patient

at a later date does not make her his patient with respect to the alleged malpractice at issue

in this case and is irrelevant. No duty can imposed upon a physician without a physician-

patient relationship, see Bishop v. Owens, 152 Idaho 616,620 (2011) (requiring an attorney-

client relationship before a malpractice claim can be established), and it is axiomatic that a

physician-patient relationship cannot be formed with an individual who has not been

conceived. Thus, Dr. Mortimer did not have a duty to Rowlette at the time of the alleged

malpractice and therefore could not have breached any duty to Rowlette. Her claims must

therefore be dismissed.

       IV.    ANY CLAIMS AGAINST MORTIMER THAT ARE DISMISSED MUST
              ALSO BE DISMISSED AGAINST DEFENDANT OGA.

       Plaintiffs‟ claims against OGA consist of a respondeat superior claims and a negligent

supervision claim. Under the doctrine of respondeat superior, an employer is liable in tort

for the tortious conduct of an employee committed within the scope of employment. Finholt

v. Cresto, 143 Idaho 894, 897 (2007). If the Court dismisses any of Plaintiffs‟ claims against

Dr. Mortimer, then those claims are not viable against OGA under the doctrine of




10 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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respondeat superior.    Consequently, should the Court dismiss any of Plaintiffs‟ claims

against Dr. Mortimer individually, those claims should likewise be dismissed against OGA.

                                       CONCLUSION

       Plaintiffs‟ claims for battery, infliction of emotion distress, and breach of contract are

barred by their respective statute of limitations. Furthermore, Plaintiffs‟ claims for fraud,

battery, breach of contract, violation of the Consumer Protection Act, and infliction of

emotional distress all arise out of the provision of or failure to provide health care and

sound in malpractice. As a result, these claims are not viable alternative claims and should

all be dismissed.

       In addition, Rowlette‟s claims are based on conduct that occurred prior to her

conception. As a result, Dr. Mortimer did not owe her a duty. As a result, Rowlette‟s claims

should be dismissed in their entirety. Should the Court dismiss any other claims against Dr.

Mortimer, those claims should also be dismissed against OGA under the doctrine of

respondeat superior.

       DATED this 22nd day of August, 2018.


                                            By:     ____________________________
                                                         Richard R. Friess




11 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
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                                CERTIFICATE OF SERVICE


       I hereby certify that on August 22, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system:

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                                             By:        ____________________________
                                                             Richard R. Friess




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12 – MEMORANDUM IN SUPPORT OF DEFENDANT OBSTETRICS AND GYNECOLOGY
    ASSOCIATES OF IDAHO FALLS, P.A.‟S MOTION TO DISIMISS
